        Ethan YoungCase   3:20-cv-05671-JD Document 624-24
                    (Google)                                 Filed 12/21/23 Page 1 of 2
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                                                                                EXHIBIT 8021

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Margaret Lam (Google)
                  Case 3:20-cv-05671-JD Document 624-24 Filed 12/21/23 Page 2 of 2




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